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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
NEURALMAGIC, INC.                                 )
                                                  )
                       Plaintiff,                     Civil Action No. 20-CV-10444
                                                  )
v.                                                )
                                                  )
FACEBOOK, INC. AND ALEKSANDAR                     )
ZLATESKI                                          )
                                                  )
                       Defendants.                )
                                                  )
                                                  )



                              PLAINTIFF’S MOTION TO COMPEL

       Pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule 37.1, Plaintiff

NeuralMagic, Inc. (“Neural Magic”) moves to compel Defendants Facebook, Inc. (“Facebook”)

and Aleksandar Zlateski (“Zlateski”) to (i) identify relevant source code that is responsive to Neural

Magic’s Interrogatory No. 7, as outlined in the accompanying memorandum in support of this

motion; and (ii) produce documents quantifying performance improvements and financial benefits

related to Facebook’s use of Neural Magic trade secrets and are referenced in Facebook’s prior

document productions.

       In support of this motion to compel, Neural Magic submits the accompanying memorandum

and any further briefing and argument that may be permitted by the Court.

                              REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Neural Magic respectfully requests that the Court hold oral

argument on this motion, as Neural Magic believes that oral argument may assist the Court in its

resolution of these issues.
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                             LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), the undersigned hereby certify that counsel has conferred

and attempted in good faith to resolve or narrow the issues raised in this motion.

                                                 Respectfully submitted,

 Dated: August 6, 2021                               /s/ Patrick D. Curran
                                                     Patrick D. Curran (BBO# 568701)
                                                     Steven Cherny (BBO# 706132) (pro hac vice)
                                                     Stacylyn M. Doore (BBO# 678449)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and electronic

copies will be sent to those indicated as non-registered participants on this the 6th day of August,

2021.


                                                             /s/ Patrick D. Curran
                                                             Patrick D. Curran




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